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                             UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION



    FEDERAL TRADE COMMISSION, and                         Case No. 6:16-cv-982-Orl-41TBS

    OFFICE OF THE ATTORNEY GENERAL,                       E-Filed May 29, 2018
    STATE OF FLORIDA,
    DEPARTMENT OF LEGAL AFFAIRS,

                   Plaintiffs,

           v.

    LIFE MANAGEMENT SERVICES OF ORANGE
    COUNTY, LLC, a Florida limited liability
    company, et al.,

                   Defendants.


           NOTICE TO THE COURT OF UNRESOLVED DISPOSITIVE MOTION

           Plaintiffs Federal Trade Commission and Office of the Attorney General, State of

    Florida, Department of Legal Affairs, respectfully submit this Notice pursuant to Local

    Rule 3.01(h), and state the following:

          1.       On May 1, 2017, Plaintiffs filed a dispositive motion for summary

    judgment against Defendant Kevin Guice (Doc. 163).            Defendant Guice filed an

    opposition on June 2 (Doc. 168), and Plaintiffs filed a reply, with the Court’s permission,

    on June 14 (Doc. 175).

          2.       Local Rule 3.01(h) states, “[a]ll dispositive motions which are not decided

    within one hundred and eighty (180) days of the responsive filing . . . shall be brought to

    the attention of the district judge by the movant by filing a ‘Notice To the Court’ within
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    ten days . . . .”

            3.          Local Rule 3.01(h) continues, “[m]ovant shall file an additional ‘Notice to

    the Court’ after the expiration of each and every additional thirty day period during which

    the motion remains undecided.” The rule further provides, “[m]ovant shall provide the

    Chief Judge of the Middle District with a copy of each and every ‘Notice To The Court’

    which movant is required to file under this rule.”

            4.          December 11, 2017, was 180 days from June 14, 2017, the date on which

    Plaintiffs filed the reply in support of their dispositive summary judgment motion against

    Defendant Guice. 1

            5.          Plaintiffs previously filed Notices to the Court under Local Rule 3.01(h) on

    December 21, 2017, January 23, 2018, February 22, 2018, March 27, 2018, and April 26,

    2018.


    Dated: May 29, 2018                               Respectfully submitted,

                                                      ALDEN F. ABBOTT
                                                      General Counsel


                                                      /s/ Joshua A. Doan
                                                      Joshua A. Doan
                                                      jdoan@ftc.gov
                                                      Federal Trade Commission
                                                      600 Pennsylvania Ave., NW,
                                                      Mail Stop CC-8528
                                                      Washington, DC 20580
                                                      Telephone: (202) 326-3187
                                                      Facsimile: (202) 326-3395

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     On September 1, 2017, Plaintiffs filed a Status Report and Notice of Filing Thirteen
    Proposed Stipulated Orders (Doc. 185). Those proposed stipulated orders would resolve
    Plaintiffs’ claims against the other 19 Defendants in this action.
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                                      Attorney for Plaintiff
                                      FEDERAL TRADE COMMISSION


                                      /s/ Jennifer Hinton Knutton
                                      Jennifer Hinton Knutton
                                      Assistant Attorney General
                                      Florida Bar # 92771
                                      Jennifer.Knutton@myfloridalegal.com
                                      Office of the Attorney General
                                      Consumer Protection Division
                                      135 W. Central Blvd., Suite 670
                                      Orlando, Florida 32801
                                      Telephone: (407) 316-4840
                                      Facsimile: (407) 245-0365

                                      Attorney for Plaintiff
                                      OFFICE OF THE ATTORNEY GENERAL
                                      STATE OF FLORIDA
                                      DEPARTMENT OF LEGAL AFFAIRS




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                                  CERTIFICATE OF SERVICE

           I hereby certify that on May 29, 2018, I served a true and correct copy of the

    foregoing Notice by means of filing with the Court’s CM/ECF electronic filing system,

    email, or mail on the counsel or parties of record on the Service List below:

    Kevin W. Guice
    3609 Oriskany Dr.
    Orlando, FL 32820
    Email: kwguice@bellsouth.net

    Matthew Leibert, Esq.
    200 S. Orange Ave., Suite 2000
    Orlando, FL 32801
    Email: leibert@urbanthier.com
    Counsel for Relief Defendants Robert Guice and Timothy Woods

    Mario Ceballos, Esq.
    The Ceballos Law Firm, P.A.
    638 Broadway Avenue, Orlando, Florida 32803-4540
    Email: mario@eolalawfirm.com
    Counsel for Defendants Chase Jackowski, LPSofFLA LLC, LPSofFlorida L.L.C., YFP
    Solutions LLC

    David P. Hill, Esquire
    Law Offices of David P. Hill, P.A.
    214 Annie Street, Orlando, Florida 32806-1208
    Email: dphillpa@cfl.rr.com
    Counsel for Individual Defendant Linda McNealy

    Elias R. Hilal, Esquire
    Williams Hilal Wigand Grande, PLLC
    633 Southeast Third Avenue, Suite 301
    Fort Lauderdale, Florida 33301
    Email: elias@whwlegal.com
    Counsel for Individual Defendants Clarence (“Harry”) Wahl and Karen Wahl




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    Harry Wahl, Registered Agent for Life Management Services of Orange County, LLC
    c/o Elias R. Hilal, Esq., Counsel for Mr. Wahl
    Email: elias@whwlegal.com

    Linda McNealy, Registered Agent for Loyal Financial & Credit Services, LLC
    c/o David P. Hill, Esquire, Counsel for Ms. McNealy
    Email: dphillpa@cfl.rr.com

    Inez Vest, Registered Agent for IVD Recovery, LLC
    Email: zeni0325@gmail.com

    Karen Wahl, Registered Agent for KWP Services, LLC
    c/o Elias R. Hilal, Esq., Counsel for Ms. Wahl
    Email: elias@whwlegal.com

    Harry Wahl, Registered Agent for KWP Services of Florida LLC
    c/o Elias R. Hilal, Esq., Counsel for Mr. Wahl
    Email: elias@whwlegal.com

    Victoria Miller, Registered Agent for PW&F Consultants of Florida LLC
    Email: miller.tori82@gmail.com

    Michael Yager, Jr., Registered Agent for UAD Secure Service of FL LLC
    Email: myagerjr@yahoo.com

    Michael Yager, Jr., Registered Agent for UAD Secure Services LLC
    Email: myagerjr@yahoo.com

    Matthew Roberts, Registered Agent for URB Management, LLC
    Email: msroberts@me.com

    Christine Jones, Registered Agent for YCC Solutions LLC
    c/o Heiko G. Moenckmeier, Esquire, Counsel to Ms. Jones
    The Law Firm of Heiko G. Moenckmeier
    836 Highland Avenue, Orlando, Florida 32803-3941
    Email: heikogeorge@gmail.com




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    Mark Bernet, Esquire
    Akerman LLP
    401 East Jackson Street, Suite 1700
    Tampa, Florida 33602-5250
    Email: mark.bernet@akerman.com
    Receiver


                                          /s/ Joshua A. Doan
                                          Joshua A. Doan




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